          Case 2:20-cr-00264-KJD-VCF Document 14 Filed 09/25/20 Page 1 of 5




 1   ROBERT M. DRASKOVICH, ESQ.
     Nevada Bar Number 6275
 2   THE DRASKOVICH LAW GROUP
     815 S. Casino Center Boulevard
     Las Vegas, Nevada 89101
 3   702-474-4222
     robert@draskovich.com
 4
     Attorney for Luis Arellano
 5                                UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEVADA
 6

 7   UNITED STATES OF AMERICA,                          Case No. 2:20-mj-00828-BNW
 8                  Plaintiff,
                                                        Stipulation and Order to Continue the Initial
 9                          v.                          Appearance/Detention Hearing
                                                        (First Request)
10   LUIS ARELLANO, and
          aka “Lewis Arellano:
11        aka “Laughter”

12                  Defendant.

13

14
            IT IS HEREBY STIPULATED AND AGREED by and between, Nicholas A.
15
     Trutanich, United States Attorney, District of Nevada, Kevin D. Schiff, Assistant United States
16
     Attorney, representing the United States of America, and Robert M. Draskovich, Esq.,
17
     representing Defendant Luis Arellano, that the Initial Appearance/Detention Hearing in the
18
     above captioned case, which is currently scheduled for September 25, 2020 at 2:30 P.M., be
19
     continued to Monday, September 28, 2020 or to a date and time convenient for the Court but
20
     not more than one week from the current setting.
21
     1.     On March 16, 2020, the Chief Judge of the U.S. District Court for the District of Nevada
22
            issued Temporary General Order 2020-03, which found that due to the outbreak of the
23
            coronavirus disease 2019 (“COVID-2019”) in the District of Nevada, the declaration by
24
            the Governor of the State of Nevada of a public health emergency due to the spread of
          Case
           Case2:20-cr-00264-KJD-VCF
                 2:20-mj-00828-BNW Document
                                     Document
                                            1014Filed
                                                  Filed
                                                      09/23/20
                                                        09/25/20Page
                                                                 Page22
                                                                      ofof
                                                                        55




 1         COVID-19 in Nevada, and the declaration of local emergencies by local governments due

 2         to COVID-19, including Clark County, the Court has sustained “reduced ability to obtain

 3         an adequate spectrum of jurors,” and it noted the effects of public health

 4         recommendations, including “social distancing measures.” General Order 2020-03

 5         accordingly continued all civil and criminal trials until April 10, 2020, pending further

 6         order of the Court and found that “the ends of justice are best served by ordering the

 7         continuances, which outweighs the best interests of the public and any defendant’s right

 8         to a speedy trial under 18 U.S.C. § 3161(h)(7)(A).” On April 9, 2020, Chief Judge Du

 9         entered Amended General Order 2020-03, which provided, “the Court has determined

10         that jury trials must be further postponed” without indicating how long the postponement

11         will continue. Amended General Order 2020-03 states further that the “each presiding

12         judge will address any needed continuance of their trial in their individual cases.”

13   2.    On March 19, 2020, the Chief Judge of the U.S. District Court for the District of Nevada

14         issued Temporary General Order 2020-04, which noted that “the COVID-19 pandemic

15         has continued to spread,” resulting in the need for “more aggressive social-distancing

16         measures.” The Court noted further that, “[o]n March 17, 2020, the Governor of the

17         State of Nevada ordered the closure of many business establishments and strongly

18         encouraged all citizens to stay home.” Accordingly, the Court ordered the temporary

19         closure of the Clerk’s office, and implemented other changes, including “striving to

20         eliminate in-person court appearances.” In the event any hearing must go forward, the

21         Court will conduct the hearing via video or teleconference. On April 29, 2020, the Court

22         issued an amended General Order 2020-04, setting forth certain filing procedures and

23         noting its “plans to incrementally resume in-person court appearances as appropriate

24         based on recommended health guidelines.”

                                                     2
           Case 2:20-cr-00264-KJD-VCF Document 14 Filed 09/25/20 Page 3 of 5




 1   3.     On March 30, 2020, the Court issued Temporary General Order 2020-05, making

 2          findings under section 15002(b)(1) of the Coronavirus Aid, Relief, and Economic

 3          Security Act (“CARES Act”), authorizing the use of video and telephone for court

 4          hearings, and noting that all courtrooms would be physically closed to the parties and

 5          the public. On June 25, 2020, the Court issued Amended General Order 2020-05,

 6          extending the original order for 90 days, until September 28, 2020.

 7   4.     Based on the public health emergency brought about by the COVID-2019 pandemic, the

 8          required social-distancing measures as recognized in the Temporary General Orders, and

 9          the need for additional time to prepare the defense, both during the public health

10          emergency and once the public health emergency is resolved, the parties agree to

11          continue the currently scheduled Preliminary Examination on August 5, 2020, to a date

12          and time convenient for the Court, but not less than 30 days from the current settings.

13   5.     This continuance is not sought for purposes of delay, but to account for the necessary

14          social-distancing in light of the COVID-2019 public health emergency, and to allow the

15          defense adequate time to prepare during the public health emergency and following its

16          resolution.

17   6.     Denial of this request could result in a miscarriage of justice, and the ends of justice

18          served by granting this request outweigh the best interests of the public and the defendant

19          in a speedy trial.

20   7.     The defendant is incarcerated but does not object to the continuance.

21   8.     This is the first request to continue the Initial Appearance/Detention Hearing.

22   9.     Counsel for Defendant Arellano has a pre-planned family trip to rural Utah.

23   ///

24   ///

                                                       3
           Case 2:20-cr-00264-KJD-VCF Document 14 Filed 09/25/20 Page 4 of 5




 1   10.    The additional time requested by this stipulation is pursuant to Title 18, United States

 2          Code, Sections 3142(f)(2).

 3          DATED this 23rd day of September, 2020.

 4

 5   NICHOLAS A. TRUTANICH
     United States Attorney
 6
     /s/ Kevin D. Schiff                                 /s/ Robert Draskovich
 7   KEVIN D. SCHIFF                                     ROBERT M. DRASKOVICH
     Assistant United States Attorney                    Counsel for Defendant Arellano
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                                     4
          Case 2:20-cr-00264-KJD-VCF Document 14 Filed 09/25/20 Page 5 of 5




 1                                UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                          Case No. 2:20-mj-00828-BNW

 4                 Plaintiff,
                                                        Order Continuing the Initial
 5                         v.                           Appearance/Detention Hearing

 6   LUIS ARELLANO, and
          aka “Lewis Arellano:
 7        aka “Laughter”

 8                 Defendant.

 9

10          Based upon the pending Stipulation of counsel, and good cause appearing therefor, the

11   Court hereby finds that:

12          IT IS HEREBY ORDERED that the initial appearance/detention hearing in the above-

13   captioned matter currently scheduled for September 25, 2020 at 2:30 p.m., be vacated and

14   continued to Monday, September 28, 2020, at the hour of 2:30 p.m. in courtroom 3D.

15          DATED AND DONE this 25th day of September, 2020.

16

17                                            _____________________________________
                                              NANCY J. KOPPE
18   Respectfully Submitted By:               UNITED STATES MAGISTRATE JUDGE

19   /s/ Robert M. Draskovich
     ____________________________
20   Robert M. Draskovich, Esq.
     Nevada Bar Number 6275
21   Attorney for Defendant Arellano

22

23

24

                                                    5
